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     Telephone: (916) 422-4022
 3
     Attorney for Robert Duncan
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                )   Case No.: 2:12-cr-00255-GEB
 8   UNITED STATES OF AMERICA,                  )
                                                )
 9                Plaintiff,                    )   STIPULATION AND ORDER FOR
                                                )   MODIFICATION OF SCHEDULE FOR
10       vs.                                    )   PSR
     ROBERT DUNCAN,                             )
11                                              )
                  Defendant.                    )
12                                              )
13
14         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15   Pre-Sentence Report (“PSR”) schedule is modified listed below. On August 14, 2013,
16   the parties stipulated to a continuance of the Judgment and Sentencing to September 27,
17   2013. However, the PSR schedule was not reset at that time. Defense counsel intends to
18   submit informal objections and requests the schedule be reset.
19   Judgment and Sentencing date:                          September 27, 2013
20
     Reply or Statement                                     September 20, 2013
21
22   Motion for Correction of the Pre-Sentence
     Report shall be filed with the court and               September 13, 2013
23   served on the Probation Officer and opposing
24   counsel no later than:
25   The Pre-Sentence Report shall be filed with
26   the court and disclosed to counsel no later            September 6, 2013

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 1   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the         August 30, 2013
 2   Probation Officer and opposing counsel
     no later than:
 3
 4
 5
     IT IS SO STIPULATED.
 6
 7   DATED: August 20, 2013                      By:   /s/ Thomas A. Johnson
                                                       THOMAS A. JOHNSON
 8                                                     Attorney for Defendant
                                                       ROBERT DUNCAN
 9
10   DATED: August 20, 2013                            BENJAMIN B. WAGNER
                                                       United States Attorney
11
                                                 By:   /s/ Thomas A. Johnson for
12                                                     RICHARD BENDER
                                                       Assistant United States Attorney
13
14   IT IS SO ORDERED.

15   Dated: August 20, 2013
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